        Case 5:21-cr-00154-FB        Document 180         Filed 08/29/22       Page 1 of 3



                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
                      Plaintiff                 §
                                                §
VS.                                             §      CRIM. NO. SA-21-CR-154 (02) FB
                                                §
ADRIANA PASTOR,                                 §
                                                §
                      Defendant                 §

         DEFENDANT ADRIANA PASTOR’S SENTENCING MEMORANDUM

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       NOW COMES ADRIANA PASTOR, Defendant, by and through her attorney and files

this Sentencing Memorandum, and in support thereof would show:

                                                I.

       This cause is currently set for Sentencing on Tuesday, August 30, 2022 at 9:00 A.M.

                                                II.

       Defendant ADRIANA PASTOR was indicted in a multi-defendant multi-count indictment

with Wire Fraud on April 7, 2021. [Dkt No. 3]. Counsel has reached agreement with the United

States Attorney’s Office regarding defendant’s plea.

                                                III.

                                  Supportive Correspondence

       Attached hereto and incorporated herein for all purposes are supportive correspondence

addressed to the Honorable Fred Biery. See Exhibit A, 10 letters of support.

                                               IV.

       Defendant Pastor has 2 minor children living with her. Her husband, Enrique Kramer [Dkt

No. 1] is currently incarcerated awaiting sentencing. AUSA Chung has graciously stated that he is

asking for sentencing at the low end of the range as well as being unopposed to her sentence, if
        Case 5:21-cr-00154-FB          Document 180        Filed 08/29/22       Page 2 of 3



confinement, being staggered with her husband.

       Defendant Pastor has pled Guilty and knows there are consequences to her actions. She has

no criminal history and is a successful businesswoman. She respectfully requests the Court

consider probation or home confinement in lieu of punishment in the federal penitentiary. Given

that her husband (Defendant Kramer) is currently incarcerated, she appreciated the Court

considering alternatives to the penitentiary as well as the staggering of sentences.

       WHEREFORE, Defendant ADRIANA PASTOR, prays that this Honorable Court

consider the attached letters of support when rendering punishment. She also appreciates any

consideration given to the current circumstances of her life.

                                             Respectfully submitted,

                                             Law Office of R. Javier Guerra, PLLC




                                             BY:
                                             R. Javier Guerra
                                             Texas Bar No.: 00789327
                                             Email: guerralawfirm@hotmail.com
                                             Law Office of R. Javier Guerra, PLLC
                                             111 W. Olmos Dr.
                                             San Antonio, Texas 78212
                                             Telephone: (210) 829-7183
                                             Facsimile: (210) 910-6144

                                             Attorney for Defendant Adriana Pastor
        Case 5:21-cr-00154-FB         Document 180         Filed 08/29/22      Page 3 of 3



                                 CERTIFICATE OF SERVICE

       This is to certify that on August 29, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system and all counsel of record will receive an electronic copy via
the Court’s CM/ECF system




                                             R. Javier Guerra
